            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 1 of 45
EXHIBIT A
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 2 of 45
EXHIBIT A
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 3 of 45
EXHIBIT A
Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 4 of 45
                                                          EXHIBIT A
EXHIBIT A   Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 5 of 45
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 6 of 45
EXHIBIT A
EXHIBIT A   Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 7 of 45
Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 8 of 45
                                                                  EXHIBIT A
EXHIBIT A   Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 9 of 45
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 10 of 45
EXHIBIT A
EXHIBIT A   Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 11 of 45
EXHIBIT A

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            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 15 of 45
EXHIBIT A
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 16 of 45
EXHIBIT A
                                                                                                                         FILED
                                                                                                                        9/16/2021
                                                                                                              CIRCUIT-ASSOCIATE-PROBATE
                                                                                                              MELINDA GUMM, CIRCUIT CLERK
              IN THE 28TH JUDICIAL CIRCUIT COURT, CEDAR COUNTY, MISSOURI                                      CIRCUIT COURT CEDAR COUNTY



   Judge or Division:            Case Number: 21CD-CV00396
   DAVID R MUNTON
   Plaintiff/Petitioner:         Person Subpoenaed:                   Plaintiff’s/Petitioner’s Attorney:
   JEFFREY M                     DOLLAR GENERAL                       N/A
   PEARSON
                                 Address:                             Address:
                                 532 MO 32 C
                                 STOCKTON, MO 65785
                           vs.                                        Telephone:
   Defendant/Respondent:         Requesting Party:                    Defendant’s/Respondent’s Attorney:
   CEDAR COUNTY                     Plt./Pet. Atty     Plt./Pet.
   SHERIFF
                                    Def/Resp. Atty      Def./Resp.
   OFFICER YOKLEY
   #117                          Address: (Of Party Checked Above)    Address:
   OFFICER BULLINGER             403 BROADWAY
   #284                          JERICO SPRINGS, MO 64756

                                 Telephone:                           Telephone:

   For depositions attach a list of all attorneys of record and self-represented parties. Include the name,
   address and telephone number.
                                                                                                                (Date File Stamp)

                                           Subpoena
                       Order to Appear/Produce Documents/Give Depositions

       The State of Missouri to: DOLLAR GENERAL

       You are commanded:
           to contact (name) at (telephone) who will advise of time and place appearance is required.
           to appear at
           on (date), at (time).
           to testify on behalf of:       .
           to give depositions.
           to bring the following SEE ATTACHED.




                     16-SEP-2021
           ________________________________
                                                                                     /s/ Sarah Turner
                                                                      _________________________________________
                            Date Issued                                                       Clerk




                   Case 6:21-cv-03272-SRB Document
  OSCA (08-13) CR190
                                                     1-2 Filed 10/18/21 491.100,
                                                1 of 2
                                                                         Page 491.130
                                                                                 17 of 45
                                                                                       RSMo, SCR 57.09, 58.02
EXHIBIT A
                                                          Return/Affidavit
        I certify that I served this subpoena in __________________________________ (County/City of St. Louis),
        Missouri, by:
             delivering a copy to the person subpoenaed ________________________________ (date).
             reading a copy to the person subpoenaed on _________________________________ (date).
             I tendered legal fees for travel expenses per section 491.130, RSMo, in the amount of $ _______________.
             Other: ________________________________________________________________________________.

        Sheriff’s Fees (if applicable)
        Summons                                       $
        Non Est                                       $
        Sheriff’s Deputy Salary Supplemental
        Surcharge (Civil Cases Only-$10.00)           $        _______
        Mileage                                       $                  (______ miles @ $.______ per mile)
        Total                                         $

                                                                         _________________________________________
                                                                                       Person Serving Subpoena

                                                           Instructions
        1. This subpoena will remain in effect until this trial is concluded or you are discharged by the Court. You must
             attend trial from time to time as directed. No additional Subpoena is required for your future appearance
             at any trial of this case. If you fail to appear, you may be held in contempt of court.
        2.   If you have any questions regarding this subpoena, contact the person who requested it listed on the front.
        3.   Bring this form with you to court. This form must be completed, signed, and returned to the clerk as soon
             as you have testified or been dismissed.


                                                          Witness Claim
        I have served ________________________ day(s) as a witness and I traveled ___________________ mile(s)
        round-trip from my home to the courthouse to attend this proceeding.



                                                                  ________________________________________________
                                                                                          Signature


                                                                  ________________________________________________
                                                                                        Current Address


                                                                  ________________________________________________
                                                                                         City, State, Zip


        Subscribed and sworn to before me on _________________________________ (date).



        Total Claimed $ _____________________                     ________________________________________________
                                                                                            Clerk




                    Case 6:21-cv-03272-SRB Document
   OSCA (08-13) CR190
                                                      1-2 Filed 10/18/21 491.100,
                                                 2 of 2
                                                                          Page 491.130
                                                                                  18 of 45
                                                                                        RSMo, SCR 57.09, 58.02
EXHIBIT A
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EXHIBIT A
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 20 of 45
EXHIBIT A
                                                                                                                          FILED
                                                                                                                         9/16/2021
                                                                                                               CIRCUIT-ASSOCIATE-PROBATE
                                                                                                               MELINDA GUMM, CIRCUIT CLERK
               IN THE 28TH JUDICIAL CIRCUIT COURT, CEDAR COUNTY, MISSOURI                                      CIRCUIT COURT CEDAR COUNTY


    Judge or Division:            Case Number: 21CD-CV00396
    DAVID R MUNTON
    Plaintiff/Petitioner:         Person Subpoenaed:                   Plaintiff’s/Petitioner’s Attorney:
    JEFFREY M                     CEDAR COUNTY SHERIF                  N/A
    PEARSON                       DEPARTMENT
                                  Address:                             Address:
                                  202 S HIGH ST
                                  STOCKTON, MO 65785
                            vs.                                        Telephone:
    Defendant/Respondent:         Requesting Party:                    Defendant’s/Respondent’s Attorney:
    CEDAR COUNTY                     Plt./Pet. Atty     Plt./Pet.
    SHERIFF
                                     Def/Resp. Atty      Def./Resp.
    OFFICER YOKLEY
    #117                          Address: (Of Party Checked Above)    Address:
    OFFICER BULLINGER             403 BROADWAY
    #284                          JERICO SPRINGS, MO 64756

                                  Telephone:                           Telephone:

    For depositions attach a list of all attorneys of record and self-represented parties. Include the name,
    address and telephone number.
                                                                                                                 (Date File Stamp)

                                            Subpoena
                        Order to Appear/Produce Documents/Give Depositions

        The State of Missouri to: JAMES MCCRARY AGENT FOR CEDAR COUNTY SHERIFF

        You are commanded:
            to contact (name) at (telephone) who will advise of time and place appearance is required.
            to appear at
            on (date), at (time).
            to testify on behalf of:       .
            to give depositions.
            to bring the following SEE ATTACHED.




                      16-SEP-2021                                                     /s/ Sarah Turner
            ________________________________                           _________________________________________
                             Date Issued                                                       Clerk




                    Case 6:21-cv-03272-SRB Document
   OSCA (08-13) CR190
                                                      1-2 Filed 10/18/21 491.100,
                                                 1 of 2
                                                                          Page 491.130
                                                                                  21 of 45
                                                                                        RSMo, SCR 57.09, 58.02
EXHIBIT A
                                                          Return/Affidavit
        I certify that I served this subpoena in __________________________________ (County/City of St. Louis),
        Missouri, by:
             delivering a copy to the person subpoenaed ________________________________ (date).
             reading a copy to the person subpoenaed on _________________________________ (date).
             I tendered legal fees for travel expenses per section 491.130, RSMo, in the amount of $ _______________.
             Other: ________________________________________________________________________________.

        Sheriff’s Fees (if applicable)
        Summons                                       $
        Non Est                                       $
        Sheriff’s Deputy Salary Supplemental
        Surcharge (Civil Cases Only-$10.00)           $        _______
        Mileage                                       $                  (______ miles @ $.______ per mile)
        Total                                         $

                                                                         _________________________________________
                                                                                       Person Serving Subpoena

                                                           Instructions
        1. This subpoena will remain in effect until this trial is concluded or you are discharged by the Court. You must
             attend trial from time to time as directed. No additional Subpoena is required for your future appearance
             at any trial of this case. If you fail to appear, you may be held in contempt of court.
        2.   If you have any questions regarding this subpoena, contact the person who requested it listed on the front.
        3.   Bring this form with you to court. This form must be completed, signed, and returned to the clerk as soon
             as you have testified or been dismissed.


                                                          Witness Claim
        I have served ________________________ day(s) as a witness and I traveled ___________________ mile(s)
        round-trip from my home to the courthouse to attend this proceeding.



                                                                  ________________________________________________
                                                                                          Signature


                                                                  ________________________________________________
                                                                                        Current Address


                                                                  ________________________________________________
                                                                                         City, State, Zip


        Subscribed and sworn to before me on _________________________________ (date).



        Total Claimed $ _____________________                     ________________________________________________
                                                                                            Clerk




                    Case 6:21-cv-03272-SRB Document
   OSCA (08-13) CR190
                                                      1-2 Filed 10/18/21 491.100,
                                                 2 of 2
                                                                          Page 491.130
                                                                                  22 of 45
                                                                                        RSMo, SCR 57.09, 58.02
EXHIBIT A
               IN THE 28TH JUDICIAL CIRCUIT, CEDAR COUNTY, MISSOURI

  Judge or Division:                                              Case Number: 21CD-CV00396
  DAVID R. MUNTON
                                                                                                                                   FILED
  Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
                                                                                                                                  9/16/2021
  JEFFERY MICHAEL PEARSON                                         JEFFERY MICHAEL PEARSON                               CIRCUIT-ASSOCIATE-PROBATE
                                                                  403 BROADWAY                                          MELINDA GUMM, CIRCUIT CLERK
                                                            vs.   JERICO SPRINGS, MO 64756                              CIRCUIT COURT CEDAR COUNTY
  Defendant/Respondent:                                           Court Address:
  OFFICER YOKLEY #117                                             CEDAR COUNTY COURTHOUSE
  Nature of Suit:                                                 113 SOUTH STREET
  CC Other Miscellaneous Actions                                  P O BOX 665
                                                                  STOCKTON, MO 65785                                          (Date File Stamp)

                                                        Summons in Civil Case
    The State of Missouri to: OFFICER BULLINGER #284
                              Alias:
   C/O CEDAR COUNTY SHERIFF
   202 S HIGH ST
   STOCKTON, MO 65785
        COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                     copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                     plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                     exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                     be taken against you for the relief demanded in the petition.
                                                 16-SEP-2021                                               /s/ Sarah Turner
                                      _______________________________       ______________________________________________________
         CEDAR COUNTY
                                                        Date                                                  Clerk
                                     Further Information:
                                                             Sheriff’s or Server’s Return
       Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
       I certify that I have served the above summons by: (check one)
           delivering a copy of the summons and a copy of the petition to the defendant/respondent.
           leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
             _________________________________________________, a person of the defendant’s/respondent’s family over the age of
             15 years who permanently resides with the defendant/respondent.
           (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
           _____________________________________________ (name) ____________________________________________ (title).
           other: ______________________________________________________________________________________________.

       Served at _______________________________________________________________________________________ (address)
       in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

       _______________________________________________                             _________________________________________________
                      Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                  Must be sworn before a notary public if not served by an authorized officer:
                                   Subscribed and sworn to before me on _______________________________ (date).
             (Seal)
                                   My commission expires: __________________                 ________________________________________
                                                                         Date                                     Notary Public
    Sheriff’s Fees, if applicable
    Summons                       $
    Non Est                       $
    Sheriff’s Deputy Salary
    Supplemental Surcharge        $   10.00
    Mileage                       $                  (______ miles @ $.______ per mile)
    Total                         $
    A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
    classes of suits, see Supreme Court Rule 54.



  OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-253
                                                            1 of 1           Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                        Case 6:21-cv-03272-SRB Document 1-2 Filed  10/18/21      Page 23 of 45
                                                                     54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
EXHIBIT A
            Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 24 of 45
EXHIBIT A
               IN THE 28TH JUDICIAL CIRCUIT, CEDAR COUNTY, MISSOURI

  Judge or Division:                                              Case Number: 21CD-CV00396
  DAVID R. MUNTON
  Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address                        FILED
  JEFFERY MICHAEL PEARSON                                         JEFFERY MICHAEL PEARSON                                         9/16/2021
                                                                  403 BROADWAY                                          CIRCUIT-ASSOCIATE-PROBATE
                                                                                                                        MELINDA GUMM, CIRCUIT CLERK
                                                            vs.   JERICO SPRINGS, MO 64756
                                                                                                                        CIRCUIT COURT CEDAR COUNTY
  Defendant/Respondent:                                           Court Address:
  OFFICER YOKLEY #117                                             CEDAR COUNTY COURTHOUSE
  Nature of Suit:                                                 113 SOUTH STREET
  CC Other Miscellaneous Actions                                  P O BOX 665
                                                                  STOCKTON, MO 65785                                          (Date File Stamp)

                                                        Summons in Civil Case
    The State of Missouri to: OFFICER YOKLEY #117
                              Alias:
   C/O CEDAR COUNTY SHERIFF
   202 S HIGH ST
   STOCKTON, MO 65785
        COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                     copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                     plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                     exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                     be taken against you for the relief demanded in the petition.
                                                16-SEP-2021                                               /s/ Sarah Turner
                                       _______________________________               ______________________________________________________
         CEDAR COUNTY
                                                     Date                                                  Clerk
                                     Further Information:
                                                             Sheriff’s or Server’s Return
       Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
       I certify that I have served the above summons by: (check one)
           delivering a copy of the summons and a copy of the petition to the defendant/respondent.
           leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
             _________________________________________________, a person of the defendant’s/respondent’s family over the age of
             15 years who permanently resides with the defendant/respondent.
           (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
           _____________________________________________ (name) ____________________________________________ (title).
           other: ______________________________________________________________________________________________.

       Served at _______________________________________________________________________________________ (address)
       in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

       _______________________________________________                             _________________________________________________
                      Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                  Must be sworn before a notary public if not served by an authorized officer:
                                   Subscribed and sworn to before me on _______________________________ (date).
             (Seal)
                                   My commission expires: __________________                 ________________________________________
                                                                         Date                                     Notary Public
    Sheriff’s Fees, if applicable
    Summons                       $
    Non Est                       $
    Sheriff’s Deputy Salary
    Supplemental Surcharge        $   10.00
    Mileage                       $                  (______ miles @ $.______ per mile)
    Total                         $
    A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
    classes of suits, see Supreme Court Rule 54.



  OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-252
                                                            1 of 1           Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                        Case 6:21-cv-03272-SRB Document 1-2 Filed  10/18/21      Page 25 of 45
                                                                     54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
EXHIBIT A
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EXHIBIT A
              IN THE 28TH JUDICIAL CIRCUIT, CEDAR COUNTY, MISSOURI

  Judge or Division:                                             Case Number: 21CD-CV00396
  DAVID R. MUNTON
  Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address                        FILED
  JEFFERY MICHAEL PEARSON                                        JEFFERY MICHAEL PEARSON                                         9/16/2021
                                                                 403 BROADWAY                                          CIRCUIT-ASSOCIATE-PROBATE
                                                                                                                       MELINDA GUMM, CIRCUIT CLERK
                                                           vs.   JERICO SPRINGS, MO 64756
                                                                                                                       CIRCUIT COURT CEDAR COUNTY
  Defendant/Respondent:                                          Court Address:
  OFFICER YOKLEY #117                                            CEDAR COUNTY COURTHOUSE
  Nature of Suit:                                                113 SOUTH STREET
  CC Other Miscellaneous Actions                                 P O BOX 665
                                                                 STOCKTON, MO 65785                                          (Date File Stamp)

                                                       Summons in Civil Case
   The State of Missouri to: OFFICER YOKLEY #117
                             Alias:
  C/O CEDAR COUNTY SHERIFF
  202 S HIGH ST
  STOCKTON, MO 65785
       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.
                                               16-SEP-2021                                               /s/ Sarah Turner
                                      _______________________________               ______________________________________________________
        CEDAR COUNTY
                                                    Date                                                  Clerk
                                    Further Information:
                                                            Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the defendant/respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
            _________________________________________________, a person of the defendant’s/respondent’s family over the age of
            15 years who permanently resides with the defendant/respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
          _____________________________________________ (name) ____________________________________________ (title).
          other: ______________________________________________________________________________________________.

      Served at _______________________________________________________________________________________ (address)
      in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

      _______________________________________________                             _________________________________________________
                     Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on _______________________________ (date).
            (Seal)
                                  My commission expires: __________________                 ________________________________________
                                                                        Date                                     Notary Public
   Sheriff’s Fees, if applicable
   Summons                       $
   Non Est                       $
   Sheriff’s Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                  (______ miles @ $.______ per mile)
   Total                         $
   A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
   classes of suits, see Supreme Court Rule 54.



 OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-252
                                                           1 of 1           Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                       Case 6:21-cv-03272-SRB Document 1-2 Filed  10/18/21      Page 27 of 45
                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
EXHIBIT A
EXHIBIT A   Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 28 of 45
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EXHIBIT A
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                      EXHIBIT A
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EXHIBIT A
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EXHIBIT A
Case 6:21-cv-03272-SRB Document 1-2 Filed 10/18/21 Page 37 of 45
                                                                   EXHIBIT A
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EXHIBIT A
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EXHIBIT A
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EXHIBIT A
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EXHIBIT A
